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                                                                      Titar34171
                                                                          1M OPEN COURT



                                                                         NOV - 1 201^
                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA            CLERK.U.S. DISTRICT COURT
                                                                           NORFOLK. VA
                                    Norfolk Division


  BASF PLANT SCIENCE, LP,
            Plaintiff,

        V.



  COMMONWEALTH SCIENTIFIC AND
  INDUSTRIAL RESEARCH
  ORGANISATION,

             Defendant.
                                                       C.A. No. 2:17-CV-503-HCM
  COMMONWEALTH SCIENTIFIC AND
  INDUSTRIAL RESEARCH                                  Patent Case
  ORGANISATION, GRAINS RESEARCH
  AND DEVELOPMENT CORP., and
  NUSEED PTY LTD..

              Plaintiffs-Counterclaimants,

        V.



  BASF PLANT SCIENCE, LP, and
  CARGILL, INCORPORATED,

        Defendants-Counterdefendants.

  BASF PLANT SCIENCE GMBH,and
  BASF PLANT SCIENCE, LP,

              Plaintiffs-Counterclaimants,



  COMMONWEALTH SCIENTIFIC AND
  INDUSTRIAL RESEARCH
  ORGANISATION. GRAINS RESEARCH
  AND DEVELOPMENT CORP., and
  NUSEED PTY LTD.,

        Defendants-Counterdefendants.



                                JURY VERDICT FORM
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  In this Verdict Form:

        "CSIRO" refers to the Commonwealth Scientific and Industrial Research
        Organisation.

        "GRDC" refers to Grains Research and Development Corp.

        "Nuseed" refers to Nuseed Party Ltd.

        "The Proponents" refers to CSIRO, GRDC, and Nuseed, collectively.

        "BASF" refers to BASF Plant Science, GmbH and BASF Plant Science, LP.

        "Cargill" refers to Cargill Incorporated.

        "The Opponents" refers to BASF and Cargill, collectively.

        The '"357 Patent" refers to U.S. Patent No. 9,951,357.

        The "'579 Patent" refers to U.S. Patent No. 9,926,579.

        The '"880 Patent" refers to U.S. Patent No. 9,994,880.

        The'"033 Patent" refers to U.S. Patent No. 9,970,033.

        The'"792 Patent" refers to U.S. Patent No. 9,994,792.

        The '"541 Patent" refers to U.S. Patent No. 9,932,541.

        The '"084 Patent" refers to U.S. Patent No. 10,125,084.

        The "Patents-in-Suit" refers collectively to the'357 Patent, the'579 Patent,the'880
         Patent, the '033 Patent, the '792 Patent, the '541 Patent, and the '084 Patent.

        The "Asserted Claims" refers collectively to claims 1 and 33 of the '357 Patent,
        claim 5 of the '579 Patent, claims 2 and 10 of the '880 Patent, claim 5 of the '033
        Patent, claim 4 of the '792 Patent, claim 20 of the '541 Patent, and claim 1 of the
        '084 Patent.
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                                 Section I - Infringement




        The Opponents stipulated that they satisfy every limitation of claims 1 and 33 of

  the'357 Patent, claim 5 of the '579 Patent, claims 2 and 10 of the '880 Patent, claim 5 of

  the '033 Patent, claim 4 of the '792 Patent, and claim 1 of the '084 Patent, and therefore

  infringement is not disputed for these claims.

         Do you find by a preponderance of the evidence that the Opponents have infringed

  Claim 20 of the '541 Patent?(Answer "YES" or "NO".)



               YES J
               (in favor of GSIRO/Nuseed/GRDC)
                                                         NO
                                                         (in favor of BASF/Cargill)
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                                   Section II - Obviousness




         The Opponents do not contest the validity of claim 20 of the '541 Patent, and

  therefore validity is not disputed for that claim.

         Do you find that the Opponents have proven by clear and convincing evidence that

  any of the following Asserted Claims of the Patents-in-Suit is obvious? (Answer"YES" or

 "NO"to each claim.)



     Asserted Patent Claims                    YES                      NO
                                  (in favor of BASF/Cargill)        (in favor of
                                                               CSIRO/Nuseed/GRDC)
   Claim 1 of the '357 Patent


   Claim 33 of the '357 Patent

   Claim 5 of the '579 Patent

   Claim 2 of the '880 Patent


   Claim 10 of the '880 Patent

   Claim 4 of the '792 Patent


   Claim 5 of the '033 Patent
                                                                   ly
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                              Section III - Written Description



         Have Opponents(BASF and Cargill) proven by clear and convincing evidence that
                                                                                      \
  the following patent claims are invalid for lack of written description?
                                                                              \
          Asserted Patent Claim                       Yes                        No
                                      (in favor of BASF/Cargill)             (in favor of
                                                                   CSIRO/Nwseed/GRDC)
          '579 Patent Claim 5

          ■357 Patent Claim 1

          •357 Patent Claim 33
                                                                         /
          '033 Patent Claim 5
                                                                         /
          '880 Patent Claim 2

          '880 Patent Claim 10

          '792 Patent Claim 4
                                                  *
                                                                               y
          '084 Patent Claim 1
                                              4
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                            Section IV - Breach of Contract

                     Materials Transfer and Evaluation Agreement




        Do you find that BASF has proven by a preponderance of the evidence that BASF

  is a co-owner of any of the following Patents-in-Suit below? (Answer "YES" or "NO" to

  each patent.)



       Asserted Patents                   YES                          NO
                              (in favor of BASF/Cargill)           (in favor of
                                                              CSIRO/Nuseed/GRDC)
  the '357 Patent
                                                                         y
  the '579 Patent


  the '880 Patent
                                                                  y
  the '792 Patent
                                   /                                 /
  the '084 Patent
                                                                         /
  the '033 Patent
                                                                 ly
  the '541 Patent

                                                                iX
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                                 Section V - Conception




        Have Proponents (CSIRO, Nuseed and GRDC) established, with corroborating

  evidence, that claim 1 of the '357 patent or claim 2 of the '880 patent were conceived by

 the inventors as of February 2003?



      Asserted Patent                      ^8                                NO
          Ciaims            (in favor of CSIRO/Nuseed/GRDC) (in favor of BASF/Cargill)
   the '357 Patent
                                       \J,
  the '880 Patent
                                       y
Case 2:17-cv-00503-HCM-LRL Document 788 Filed 11/01/19 Page 8 of 8 PageID# 34178
                            Pursuant to the E-Government Art,
                                  the original of this page has been filed
                                     under seal in the Qerk s Office.

                         FINAL PAGE OF JURY VERDICT FORM



        You have now reached the end of the Verdict Form and should review it to ensure

  it accurately reflects your unanimous determinations. After you are satisfied that your
  unanimous answers are correctly reflected above, your Jury Foreperson should then sign
  and date this Verdict Form in the spaces below. Once that is done, notify the Court
  Security Officer that you have reached a verdict.




        Signed this _(_ day of                                  , 2019.

              REDACTED COPY
